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DNJ-Cr-021 (09/2017)




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



  UNITED STATES OF AMERICA
                                              Criminal No. 23-92 (JXN)
                        v.

                                              SENTENCING SUBMISSION NOTICE
                                              OF THE UNITED STATES
                ERICK SOLIS
                   Defendant(s).




        Please be advised that, on this date, the United States submitted sentencing

materials to the Court in this case concerning the defendant                           .




Date: December 14, 2023                        PHILIP R. SELLINGER
                                               United States Attorney



                                        By:     /s/ Dong Joo Lee
                                                Assistant U.S. Attorney
